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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO

   Civil Action No.:

   JESSE ORCUTT,

                  Plaintiff,

   v.

   STELLAR RECOVERY, INC., a Florida corporation,

                 Defendant.


                                  COMPLAINT AND JURY DEMAND


                                            JURISDICTION

   1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

   2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

          Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                                VENUE

   3.     Venue is proper in this Judicial District.

   4.     The acts and transactions alleged herein occurred in this Judicial District.

   5.     The Plaintiff resides in this Judicial District.

   6.     The Defendant transacts business in this Judicial District.

                                               PARTIES

   7.     Plaintiff Jesse Orcutt is a natural person.

   8.     The Plaintiff resides in the City of Longmont, County of Boulder, State of Colorado.




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   9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

   10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d preface.

   11.   Defendant Stellar Recovery, Inc., is a Florida corporation operating from an

         address at 1327 Highway 2 West, Suite 100, Kalispell, Montana 59901.

   12.   The Defendant’s registered agent in the state of Colorado is Business Filings

         Incorporated, 1675 Broadway, Suite 1200, Denver, Colorado 80202.

   13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

   14.   The Defendant is licensed as a collection agency by the state of Colorado.

   15.   The principal purpose of the Defendant is the collection of debts using the mails

         and telephone.

   16.   The Defendant regularly attempts to collect debts alleged to be due another.

   17.   The Defendant regularly collects or attempts to collect, directly or indirectly, debts

         owed or due or asserted to be owed or due another that arose out of transactions in

         which the money, property or services which are the subject of the transactions are

         primarily for personal, family or household purposes.

                                 FACTUAL ALLEGATIONS

   18.   Sometime before 2010 the Plaintiff allegedly incurred a financial obligation that

         was primarily for personal, family or household purposes namely an amount due

         and owing on personal account owed to Comcast (hereinafter the “Account”).

   19.   The Account constitutes a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

   20.   The Account went into default with Comcast.




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   21.   After the Account went into default the Account was placed or otherwise

         transferred to the Defendant for collection.

   22.   The Plaintiff disputes the Account.

   23.   The Plaintiff requests that the Defendant cease all further communication on the

         Account.

   24.   The Defendant’s collector(s) were employee(s) of the Defendant at all times

         mentioned herein.

   25.   The Defendant acted at all times mentioned herein through its employee(s).

   26.   In the year prior to the filing of the instant action the Defendant and / or

         representative(s), employee(s) and / or agent(s) of the Defendant placed

         telephone call(s) to the Plaintiff.

   27.   In the year prior to the filing of the instant action the Plaintiff called the Defendant

         and / or representative(s), employee(s) and / or agent(s) of the Defendant.

   28.   The Defendant’s purpose for these telephone call(s) was to attempt to collect the

         Account.

   29.   The telephone call(s) each individually conveyed information regarding the

         Account directly or indirectly to the Plaintiff.

   30.   The telephone call(s) each individually constituted a “communication” as defined

         by FDCPA § 1692a(2).

   31.   The only reason that the Defendant and / or representative(s), employee(s) and /

         or agent(s) of the Defendant placed telephone call(s) to the Plaintiff was to

         attempt to collect the Account.



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   32.   The only reason that the Defendant and / or representative(s), employee(s) and /

         or agent(s) of the Defendant had telephone conversation(s) with the Plaintiff was

         to attempt to collect the Account.

   33.   The only reason that the Defendant and / or representative(s), employee(s) and /

         or agent(s) of the Defendant received telephone call(s) from the Plaintiff was to

         attempt to collect the Account.

   34.   During the communication(s) the Defendant and / or representative(s),

         employee(s) and / or agent(s) of the Defendant attempting to collect the Account

         represented to the Plaintiff that the Account will not come off of the credit bureau

         reports and that the only way to get the Account off of the credit bureau reports is

         to pay the Account.

   35.   The Defendant’s representations stated in paragraph 34 were false and were

         false representations in connection with the collection of a debt, the Account.

   36.   During the communication(s) the Defendant and / or representative(s),

         employee(s) and / or agent(s) of the Defendant attempting to collect the Account

         represented to the Plaintiff that his dispute of the Account had to be in writing,

         that he could not dispute the Account over the telephone and that the Defendant

         would not mark the Account as disputed.

   37.   The Defendant’s representations stated in paragraph 36 were false and were

         false representations in connection with the collection of a debt, the Account.




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   38.   Upon information and belief the Defendant kept written documentation and / or

         computer record(s) that document telephone call(s) to the Plaintiff on the Account

         in the year prior to the filing of the instant action.

   39.   Upon information and belief the Defendant kept written documentation and / or

         computer record(s) that document telephone call(s) from the Plaintiff to the

         Defendant on the Account in the year prior to the filing of the instant action.

   40.   Upon information and belief the Defendant made audio recording(s) of some of

         its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

         of the instant action.

   41.   Upon information and belief the Defendant made audio recording(s) of all of its

         telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing of

         the instant action.

   42.    Upon information and belief the Defendant has a copy or copies of the audio

         recording(s) of some of its telephone call(s) / conversation(s) with the Plaintiff in

         the year prior to the filing of the instant action.

   43.   Upon information and belief the Defendant has a copy or copies of the

         audio recording(s) of all of its telephone call(s) / conversation(s) with the Plaintiff

         in the year prior to the filing of the instant action.

   44.   Upon information and belief in the time between when it received this Complaint

         and Jury Demand and when a Answer to this Complaint and Jury Demand was

         filed on its behalf with the Court the Defendant made an inquiry and/or




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         investigation as to whether it had any audio recording(s) of any telephone

         conversation(s) between the Defendant and the Plaintiff.

   45.   Upon information and belief the Defendant sent copy(s) of any audio recording(s)

         that it had of telephone conversation(s) between the Defendant and the Plaintiff

         to the attorney and/or the law firm who employs the attorney who is filing the

         Answer to this Complaint and Jury Demand on behalf of the Defendant.

   46.   Upon information and belief the Defendant’s copies of the audio recording(s) of

         its telephone call(s) / conversation(s) with the Plaintiff in the year prior to the filing

         of the instant action substantiate the Plaintiff’s allegations in this action.

   47.   The Defendant and its representative(s), employee(s) and / or agent(s)

         statement(s) and action(s) constitute false or misleading representation(s) or

         mean(s) and violate FDCPA 1692e preface, e(2)(A), e(8) and e(10).

   48.   The Defendant and its representative(s), employee(s) and / or agent(s)

         statement(s) and action(s) constitute unfair or unconscionable means to collect

         or attempt to collect a debt and violate FDCPA 1692f preface.

   49.   The FDCPA is a “strict liability statute,” and Plaintiff need only “show one

         violation of its provisions to be entitled to judgment in her favor.” Ellis v. Cohen &

         Slamowitz, LLP, 701 F.Supp. 2d 215, 219 (N.D.N.Y. 2010). Also see Doshay v.

         Global Credit and Collection Corporation, ---F.Supp. ---, 2011 WL 2669164, page

         4 (D.Colo. July 7, 2011) for the same holding.

   50.   As a consequence of the Defendant’s collection activities and




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          communication(s), the Plaintiff seeks damages pursuant to FDCPA

          1692k(a).

                                      RESPONDEAT SUPERIOR

   51.    The representative(s) and / or collector(s) at the Defendant were employee(s) of

          the Defendant at all times mentioned herein.

   52.    The representative(s) and / or collector(s) at the Defendant were agent(s) of the

          Defendant at all times mentioned herein.

   53.    The representative(s) and / or collector(s) at the Defendant were acting within the

          course of their employment at all times mentioned herein.

   54.    The representative(s) and / or collector(s) at the Defendant were acting within the

          scope of their employment at all times mentioned herein.

   55.    The representative(s) and / or collector(s) at the Defendant were under the direct

          supervision of the Defendant at all times mentioned herein.

   56.    The representative(s) and / or collector(s) at the Defendant were under the direct

          control of the Defendant at all times mentioned herein.

   57.    The actions of the representative(s) and / or collector(s) at the Defendant are

          imputed to their employer, the Defendant.

   58.    As a direct and proximate result of the aforesaid actions, the Plaintiff seeks

          damages pursuant to FDCPA 1692k(a).

                                  COUNT I, FDCPA VIOLATION

   59.   The previous paragraphs are incorporated into this Count as if set forth in full.

   60.   The act(s) and omission(s) of the Defendant and its representative(s),



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          employee(s) and / or agent(s) violated the FDCPA, § 1692e preface, e(2)(A),

          e(8), e(10) and § 1692f preface.

   61.   Pursuant to FDCPA section 1692k the Plaintiff seeks damages, reasonable

         attorney's fees and costs.

                                  JURY TRIAL DEMAND

   The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

   Fed. R. Civ. Pro. 38.

                                             PRAYER

   WHEREFORE, the Plaintiff prays that the Court grants the following:

   1.    A finding that the Defendant violated the FDCPA and/or an admission from the

         Defendant that it violated the FDCPA.

   2.    Damages pursuant to 15 U.S.C. § 1692k(a).

   3.    Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

   4.    Such other and further relief as the Court deems just and proper.

                                              Respectfully submitted,

                                              _s/ David M. Larson        ________
                                              David M. Larson, Esq.
                                              405 S. Cascade Avenue, Suite 305
                                              Colorado Springs, CO 80903
                                              (719) 473-0006
                                              Attorney for the Plaintiff




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